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§ UNITED STATES DISTRICT COURT
§ CENTRAL DISTRICT OF CALIFORNIA
b WESTERN DIVISION SOUTHERN DIVISION
n 312 North Spring Street, Room G-S 411 Wesl Fourth Street, Suite 1053
33 l.OS Angeles, CA 90012 Santa A.na, CA 92701-4516
er ‘ div Tel: (213) 894-7984 (714) 338-4750
to ':-:. f` 1~"
4""Tluc'r 0'z c
Ma 13, 2008 EASTERN DIV'ISION
SHERRI R» CARTER y 3470 Twelnh screen Room 134
District Court Execulive and Riversiqg, CA 9250]
Clerk of Court .< (9§11)-'323-44§!)
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Bernard Beard "- ;i:
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#4663'7-112 _c, -<
P.O. Box 1500 <_J_-;l 5
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Los Angeles, CA 90053 ¢;*,-.r
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Dear Sir or Madam: "l
Your complaint has been lodged and assigned a civil case number CV08-3127

 

Upon the submission of your complaint, it was noted that you did not pay the appropriate filing fee of

$350.00. Ifyo are unable to pay the entire filing fee at this time, you must sign and complete the form
indicated bel in its entirety:

   

|:l Declaration in Support ofRequest to Proceed in Forma Pauperis (CV-60)
Declaration in Support of Request to Proceed Without Prepayment ofFiling Fees (CV-6OP)

If you do not respond within THIRTY DAYS from the date above, your action will be dismissed and the

tile closed. If you submit the Declaration or pay the filing fee within TH]RTY DAYS, judges will be
assigned to your case. If you submit the Declaration, you will automatically be liable for the full filing fee,

regardless of your present ability to pay the full amount of the fee. The fee can be paid in partial payments
pursuant to a court ordered schedule.

Enclosed you Will find this court’s current Declaration form which you must complete in its entirety.
Sincerely,

Clerk, U. S. Distn'ct Court

By: ll @P<SH/Pr

Deputy Clerk

encls

CV-47 (06/06) NOTICE RE: D]SCREPANCIES ‘WITH LODGING OF COMPLAINT

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LODGE.`D

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P].aintiff ,
VS. CIVIL RIGHTS COHPLAINT.

'rr'rLE ma u.s.c. 1983. Am)

MARC WALDECK»
28 I].S.C. 1346(1))(2)

BEN REYES

BOB ALVAREZ

JOE VILLANUEVA
WENDY CHANG,
l»f[CBELLE STARKEY
.IAY DAUPEINAIS
KEVIN FF.JERAN,
ANTONE SALFITY
AUGUS'I.' BAUER,
BRENDA COTTON»
SHERHIN CBANG.
CHRIS PI.UHAR,
PHIL ROMANO,
RDBERT GONZALEZ,
DAVE JACOBY,
JAHES FLYNN,
SERVANDO PENA,
BEN HORALES.
JON REINKE,
DAVID HAHILTON, _ RECE\VED
STEPBEN TERRELL PEOPLES cLERK,u.S.DlSTHlCT count
SGT. HILL -

SPECIAL AGENT WAHEER=
JAMES H. SMITH,

JOEL J, BoLDEN,

DAVE .IONES

 

  

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F. SARII
K. BRDWN
WERDELL B. RDBERTS

ERIN ANDERSON
JOBNNY WILLIAHS

HIKE DREHER,
JOE PRIEBE,
BRINE WAHMACK,
MICHAEL BROWN,
PBUL LEBARON,
JOEL GAMRIN,
ROSS SNILLIE,
LUKE'EVERTS,
B. IKARI,

FRED RICEARDSOH»
HECTOR ZAPATA,

Defendant(s).

CIVIL RIGBIS COHPLAINT

 

T. Plaintiff, Bernard Beard respectfully moves this Honorable Court to grant

this Civil Rights Complaint pursuant to Title 42 U.S.C. 1983.

'2. Plaintiff allege that the above named defendant(s) conspired together with
the meeting of the minds to arrest Pléintiff- Knowingley; willful and intention-
ally, all in violation of Plaintiff Civil and Constitutional Rights Amendments
[4][5][6]l8][14] and [15]. Defendant(s) acted in bad faith. Defendant knew or

should have known that they was violating Constitutional Rights.

&.In the further of the acts, Defendants violated Title 18 U.S.C. 241,242.

All in violating Plaintiff Due Process,Rights.

JURISDICTION
4.This Court has jurisdiction to grant this Civil Rights Complaint where there
been allege of Civil and Constitutional Violations. Pursuant to Title 42 U.S.C.

1983, and 18 U.S.C. 241, 242. Title 28 U.S.C. l346(b)(2).

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PARTIES

5- To the best of Plaintiff knowledge Defendant(s) Mike Dreher, Brine Wammack,
Michael Brown, Fred Richardson, Hector Zapata, Marc Waldeck, Ben Reyes, Wendy
Chang, Michelle Starkey, Jay Dauphinais, Kevin Fejeran, Antone Salfity, Angust
Bauer, Brenda Cotton, Sherwin Chang, Chris Pluhar, Phil Romano, Robert Gonzalez,
David Hamilton, John Doe (Wagner), James H. Smith, Joel Bolden, is still working
for the Federal Government as law enforcement agents, they are being sued in
their individual and official capacity. Located at 312 North Spring Street, Los

Angeles, California, 90012.

6- To the best of Plaintiff knowledge Defendant(s) Jchnny Williams, Joe Priebe,
Paul Lebaron, Joel Camrin, Ross Snillie, Luke Everts, B. Ikari, Joe Villanueva,
Dave Jacoby, James Flynn, Servando Pena, Ben Morales, Jon Reinke, Dave Jones, Erin
Anderson, Wendell B. Roberts, K. Brown, F. Sarti, is still working for the Los
Angeles Police Department, which is located at 300 S. Spring St. Los Angeles, CA 90013.

They are being sued in their individual and official capacity. Also Sgt. Hill.

7~ To the best of Plaintiff knowledge Defendant Stephen Terrell Peoples is still
a state informant for the Los Angeles Law Enforcement Department, which hishddregs

is 4904 lOth Avenue, Los Angeles, California 99043.

He is being sued in his individual and official capacity.

FIRST CAUSE OF ACTION

 

8- Defendant(s) in paragraph number: five (5) violated Plaintiff Constitutional
Rights under the (4)(5)(6)(8)(14) and (15) Amendnents., and Statutes 18 U.S,C, 241,
and 242, under the due process clause, when defendant(s) processed an illegal warr»

ant, and arrested the Plaintiff. Defendant(s) acted with malice, in bad faith.

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9. Defendant(s) in paragraph number: Six (6) violated Plaintiff Constitut-
ional Rights under the (4) (14) (6) (8) and (15) Amendments., and Statutes 18 U.S.C.
241, 242. under the Equal Protection of the Law, when defendant(s) processed an
illegal warrant, and arrested the Plaintiff. Defendant(s) acted with malice, in

bad faith.

10. Defendant, in paragraph number: Seven (7) violated Plaintiff Constitution-
al Rights when he commited perjury, alleging that he purchase dpugs from Plaintiff,
and cause Plaintiff to be incarceratéd. All in violating Statute 18 U.S.C. 241, 242.
Constitution Amendments (14)(8)(6)(14¥ Knowingly, willful and intentionally, also
Constitution Amendment (4). Perjury. Statute 28 U.S.C. 1621 and 1623.

n RELIEF SEEKING
'11. Plaintiff prays for this Honorable Court grant a judgment against each
defendant in Paragraph Number: Five (5) in the amount of Eighthmillion dollars

for violating Plaintiff Constitutional Rights.

12. Plaintiff prays for this Court to grant a judgment against each defendant
in Paragraph Number: Six (6) in the amount of five million dollars for violating

Plaintiff Constitutional Rights.

13. Plaintiff prays for this Honorable Court to grant a judgment against each
defendant in Paragraph Number: E?) in the amount of eight million dollars for viol-
ating Plaintiff Constitutional and Civil Rights.

14. Plaintiff prays that this Court grant Plaintiff permission to admend this

complaint if so required.

15. Plaintiff prays for this Honorable Court grant a judgment in ahtotal amount
of two hundred and eightty#four million dollars. $284,0000.006 against defendant(s).

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16. Plaintiff prays that this Honorable Court grant judgment for defendants

to pay all Court cost and Attorney feesn and any additional expense that this Court

find that is appropriate in this cause of action.

Respectfully submitted,

gin inva %£Md

Bernard Beard

CERIIFICATE OF SERVICE
l Plaintiff, Bernard Beard hereby certify that 1 placed one copy of the fore-
going to the Counselslforddefendant(s) United States Attorney's Office, and the

Los Angeles, California State Attorney's Office, as listed below:

United States Attorney's Office
312 North Spring Street
Los Angeles, California 90012

Los Angeles,California State Department
Office of the State Attorney

@me£ &€a/| Ci

Bernard Beard
ld. 46687-112
Metropolitan Detention Center
P. O. Box 1500
Los Angeles, California 90053

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Bernard Beard

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IN THE UNITED STATES DISTRICT COURI
CENTRAL DISTRICT OF CALIFORNIA
LOS ANGELES DIVISION
BERNARD BEARD, *
Petitioner, *
vs. * cast No.= C\/O§?'_'I'_SID\F]
U.S.D.C. NO.: CRFO?-GOZ#GAF
UNITED STATES OF'AMERICA, *
APPLICATION FOR WRIT TO BE ISSUED.
Respondent. * PURSUANT TO TITLE 28 USC 1651(3)
s

 

ALL WRIT ACT.

Petitioner, Bernard Beard respectfully moves this Honorable Court to issue an

All Writ in this cause of action for the reasons listed below:

l. The government agents has violated the Petitioner's Civil and Constitution
Rights. Constitution Amendments [4][5][6][8][14] and [15].
JURISDICTION
2.

This Court has jurisdiction pursuant to Title 28 U.S.C. 165l(a)., where

there been a miscarriage of justice, or to prevent a miscarriage of justice, or

Constitutional violations.

A federal statute that give the United States Supreme Court and all courts

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established by Congress the power to issue writs in aid of their jurisdiction and

in conformity to the usages and principles of law 28 U.S.C. 1651(a).

must morenoum)

3. The Prosecutor obtained an indictment based on false information. The
federal government agents allege that Stephen Terrell Peoples girlfriend was stopp-
ed by the local police officer, and at such time the police made a search of Stephen
Terrell Peoples, and found 9 ounces of cocaine base. At such time Mr. Peoples stated

that he received the drugs from the Petitioner. This was false.

4. The government agent made a statement that Petitioner received a telephone
call from Payne stating that he seeking 8 kilograms of cocaine base from Petitioner
in coded language, and Petitioner stated that he would try to locate it., and the
Petitioner stated that he would try to contact a unidentified co-conspirator.

This statement was false.

5. The Prosecutor took these statements to the Grand Jury, to obtain indict-

ment, all in violation of Petitioner‘s Constitutional Rights [4] and [6].

6. The Petitioner have reasons to_believe that the Grand Jurors was improper
selected in random, violating the voter register Act., and Constitutional Amendment

115]. See Attachment (a).

7. The government agent submitted a false statementsrin form of an affidavit
to obtain a search warrant to the United States District Court, in order to search

Petitioner residence, and parent residence, all in violating Constitution Amendment

141-

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8. The case agent found no drugs in Petitioner residence, however, the case
,agents found one firearm, and allege that the firearm was owned.by the.Petitioner
which was wrong. See attachment (B). 'All in violation Constitution Amendment [4]

and [5].

9. The case agents found one firearm at Petitioner Parents residence and all-
eged that the firearm was owned by the Petitioner, and this statement was false.

All in violation of Constitution Amendment [L].

10. The government agents arrested the Petitioner, and placed the Petitioner
incarceration at MDC Los Angeles, all in violation of Constitution Amendment [5]

and [8].

11. The Prosecutor used the same false information to request the Magistrate
Judge, to deny Petitioner bond. Violating Constitution Amendments [4][5][8] and
[14]. Counsel for Petitioner failure to object violating Constitution Amendment

[6].

12. Petitioner is being held involuntarily against his will, all in violation

Of Constitution Amendment [8].

ARGUHENT AND HEMQRANDUH
The Governmant charge Petitioner with Statutes 21 U.S.C. 841(a)(l), 84l(b)(1)
(A) 846. and 841(A)(1)(C). 18 U.S.C. 924(€)(A)(1)(i). None of the above statutes
apply to Petitioner in words, or statutes.
One of the most fundamental rights protected by the Bill of Rights is the in-

dividuals right to liberty protected by the Due Process Clause. The Due Process

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Clause provides hightened protection against arbitrary and unreasonable infringe-
ments of liberty by the government. See Washington v. Gluckaberg, 521 U.S. l02
1719-20_(1997). The Due Process Clause.draws no distinctions among governmental
acts done by Congress or combinations of acts done by Congress and the executive.
lt does not matter if the government believes it has, or even if it has, acted
lawfully and in good faith. Due Process violations can occur without any indivi-
dual having a conscious intent to achieve that purpose. lt makes no difference
in‘the court’s analysis whether any of the acts that contributed to an unconstit-
utional result were lawful, or even whether any, or all, of them might be consid-
ered to be an appropriate discharge of the government‘s responsibilities.

ln criminal context, the Due Process Clause, however, guarantees more than
fair process. The right to susbstantive due process "protects individual liberty
against 'certain government actions regardless of the fairness of the procedures

used to implement them,"' Collins v. Harker Heights, 503 U.S. 115, 125 (1992).

 

The Bill of Rights was made a part of the Constitution to protect indivi»
duals from violations of certain fundamental rights by the government, even when
the government acts in good faith pursuit of the interests of the majority. By
reason of its position in the constitutional structure, the judiciary must have
the final word on whether or not governmental acts violate any article of the Bill
of Rights.

Absent any showing that a majority of the electorate opposes the enforced
the way in which the laws are enforced, law enforcement agencies must relie on
their own judgment in this regard. Law enforcement agencies must be expected
to enforce the laws passed berongress by using all of the legal means available
to them, and in pursuing their objectives, they are entitled to rely upon good
faith interpretations of relevant laws made within the executive branch. If these

interpretations are erroneous, it is up to the courts to say so.

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The judiciary has a responsibility of its own under the Due Process Clause;
with regard to issues arising under the Due Process Clause, the judiciary owes
no duty to respond to the will of the majority of voters. On the contrary, the
duty of the judiciary is to ensure that the rights granted to individuals by
the Due Process Clause are not violated by the government in its efforts to
represent majority interests. This duty does not require any finding of fault
on the part of the other branch of government.

The judiciary can no longer validly claim that it is meeting its obligat-
ions under the Due Process Clause merely by pointing out that judicial decisions

on issues that are unconstitutional.

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Petitioner respectfully request this Honorable Court to appoint Mr. Gerald
Salseda to be appointed to represent him in the above captioned matter.
Petitioner filing pro se, cniting daines v. Kerner,-aOé 08 519.

WHEREFORE, Petitioner prays that this Court:

A. Enter an Order authorizing Petitioner release from involuntary placement
at the Metropolitant Detention'Center, or

B. lssue a Writ commanding the warden at the Metropolitan Detention Center
Los Angeles, California to produce the body of your petitioner before this Honor-
able Court for a hearing on the Petition under the All Writ Act 28 U.S.C. 1651(3).

C. Appoint Mr. Gerald Salseda to represent your Petitioner in these pro-
ceedings: Mr. Gerald C. Salseda address is 321 East an Street, Los Angeles, CA
90012-4202, Tel. No.: 213-894-2854, Fax 213-894~0081. Direct Dial: 213 894-4406.

D. For such and futher relief as the nature o§'this cause may require.

Copy of indictment is attached.

AFFIDAVIT
l Bernard Beard HEREBY CERTIFY that the above stated matter in the Petition
for All Writ Act are ture and corrrect to the best of my information, Knowledge

and belief.

@amand @wd

Bernard Beard

 

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list

CERTIFICATE OF SERVICE

l Bernard Beard hereby certify that l mailed a copy of the foregoing to the

.!

of names below:

Michael L. Benov, Warden

535 North Alameda Street
los Angeles, CA 90053

Gerald C. Salseda
321 East 2nd Street
Los Angeles, CA 90012-4202

United States Attorney's 0ffice
312 N. Spring Street
Los Angeles, CA 90012

lamm/d ibew/d

Bernard Beard
ld.46687~112

P. 0. Box 1500
Metropolitan Detention
Center

Los Angeles, CA 90053

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lN THE UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
LOS ANGELES DIVISION

STATE OF CALIFORNIA )
) - SS -
COUNTY OF LOS ANGELES )

AFFIDAVIT OF BERNARD BEARD

l, BERNARD BEARD DEPOSE AND SAYS:

1. That this affidavit is made in good faith.

2. That the case agents alleged that a firearm was found at my parent resi~
dence.

3. That if a firearm was found at the residence, it is not owned by me, and
l do not live with my parent, the best evidence is the Courts records.

4. That l have no knowledge of any firearm being at my parent residence.

5. That l am not the only person thatvisituw parent residence, nor can l
~or my parent have knowledge as to what is found in the outside storage.

6. That the allegation that was made in the Court during my bond hearing
was - false statements by the Prosecutor, in order to deprive me of bond.

7. That the Prosecutor knew or should have known that the statements present-

ed to the Court was false.

Dated: this Zg_ day of April, 2008. Bj/lna/lc‘g. HEG/J'

Bernard Beard

l Bernard Beard hereby swear under the penalty of perjury that the statements

above is true and correct, to the best of my knowledge and belief.

69an F)MMF

Bernard Beard

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lN THE UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
LOS ANGELES DlVlSlON j

AFFIDAVIT OF LINDA STRIDER AND WALTER STRIDER

STATE OF CLLIFORNIA )
) - S S -

COUNTY OF LOS ANGELES)
I LINDA STRIDER AND wALTER STRIDER HEREBY DEPOSE AND SAYS:

1. Let if be known that throughout this affidavit, Linda Strider and Walter
Strider will be addressed at all times as Affiant.

2. That Affiants make this affidavit in good faith.

3. That Affiants make this affidavit On behalf of Bernard Beard, whom is our
family member."Son."

3. That the law enforcement made a search of our home, in refergnce to Bern-
ard Beard, allegeing that they was looking for drugs.

5. That the law enforcement, search the residence and the storage and found
no drugs, however, indicated that they found a firearm.

6. That Bernard Beard is not, and was not a residence of the ours home at the
the time of a search warrant was issed for 1118 East 149th Street, Compton, CA 90220.

6. That Affaints never saw Bernard Beard with a firearm, and there is no reason
for him to have a firearm at our residence.

7. That Affiants have reasons to believe that the information that was presented

in this cause was obtain by fraud, and the search was madi,'

  

Dated: this 255 day of `April", 2008.

Walter Strider

l Linda Strider and Walter Strider swear under the penalty of perjury that to

the best of my knowledge and belief that th above st eme ts are tru an co e ._
Dated: this" 9_2' day of April, 72008. MM¢/
' Linda Strider Walter Strider

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IN THE UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

LOS ANGELES DIVISION

AFFIDAVIT OF MARLON MCLAURIN

sTATE or cALrFORNIA )
) - S s
coUNTY or Los ANGELES )

l MARLON MCLAURIN HEREBY DEPOSE AND SAYS:

1. That throughout this affidavit Marlon Mclaurin will be addressed at all times
as Affiant.

2. That Affiant make this affidavit in good faith.

3. That Affiant make this affidavit on behalf of Bernard Beard.

4. That the firearm that was found in the residence Numbers: 8218 448 is register
to Affiant, and the firearm was left at Bernard Beard residence by Affiant, at a time
when Affiant was visiting.

5. That to the best of my knowledge Bernard Beard never had a firarm in his poss-
ession.

6. That Bernard Beard is a family member, and Affiant cannot think of any reason

as to why Bernard Beard would ever need a firearm in his possission.

Dated: this gyl day of April, 2008. jdigqén- '}¢%;;4;“¢;

Marlon Mclaurin
l Marlon Mclaurin swear under the penalty of perjury, that to the best of my knowlege

and belief, that the above statements are true and correct,

Dated: this § day of April, 2008. WW/GF\W‘“%AM*

Marlon Mclaurin

